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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §        CASE NO. 9:12-CR-15-3
                                                  §
FRANCISCO JAVIER BUSTOS                           §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

guilty plea. He further recommended that the Court adjudge the Defendant guilty on Count Two of

the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

ADOPTED. The Court accepts the Defendant’s plea. The Court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to the

report BEFORE the date of the sentencing hearing.

       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Francisco Javier Bustos, is




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adjudged guilty as to Count Two of the Indictment charging violation of Title 18, United States

Code, Section 1956(h).
                                     24 2013.
      So ORDERED and SIGNED on April ___,




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